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 6    Attorneys for Defendant City of Fresno
 7                                  UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9
10                                                        ) Case No. 1:07-CV-01210 OWW-SMS
      ROBERT B. HARRIS,                                   )
11                                                        )
                              Plaintiff,                  )
12                                                        )     ORDER GRANTING IN PART AND
              v.                                          )     DENYING IN PART
13                                                        )     DEFENDANT’S MOTION FOR
      CITY OF FRESNO,                                     )     SUMMARY JUDGMENT
14                                                        )
                              Defendant.                  )
15                                                        )
                                                          )
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              Defendant City of Fresno’s motion for summary judgment came before this Court
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      for hearing in Courtroom 3 on May 4, 2009 at 10:00 a.m. Sean Gavin of The Law
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      Offices of Bowman * Foos appeared on behalf of Plaintiff Robert Harris. Joseph D.
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      Rubin of the law firm of Betts & Wright appeared on behalf of Defendant City of Fresno.
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              Having fully considered the pleadings, evidence and the written and oral
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      submissions by the parties, Defendant City of Fresno’s motion for summary judgment is
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      GRANTED IN PART AND DENIED IN PART1:
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                The reasoning for its decision is set forth in the Court’s Mem orandum of Decision of May 26,
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      2009, which is attached hereto as Ex. A.

                                                                                                     Order re MSJ
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             1.      The City’s motion is GRANTED as to Plaintiff’s cause of action for race
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      discrimination under the California Fair Employment and Housing Act (“FEHA”);
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             2.      The City’s motion is GRANTED as to Plaintiff’s cause of action for
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      disparate impact under Tile VII;
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             3.      The City’s motion is GRANTED as to Plaintiff’s cause of action for
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      disparate treatment under Title VII;
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             4.       The City’s motion is GRANTED as to Plaintiff’s cause of action for
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      retaliation under Title VII;
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             5.      The City’s motion is GRANTED as to Plaintiff’s cause of action for
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      violation of 42 U.S.C. Section 1981;
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             6.      The City’s motion is GRANTED as to the following alleged adverse
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      actions: (1) denial of requests for reclassification; (2) promotional opportunity for Project
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      Manager; (3) not being paid the salary of Project Manager, (4) promotional opportunity
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      for Supervising Engineering Technician; (5) denial of sick leave; (6) denial of request for
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      safety boots; (7) refusal to change training class; and (8) transfer. These alleged
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      adverse actions are barred by the statute of limitations and/or the City established a
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      legitimate, non-discriminatory justification and Plaintiff was unable to demonstrate
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      pretext or racial animus;
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             7.      The City’s motion is DENIED as to Plaintiff’s cause of action for
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      harassment under FEHA.
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      Dated: June 10, 2009
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                                                 /s/ OLIVER W. WANGER
23                                               Oliver W. Wanger
                                                 United States District Court Judge
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                                                  -2-                                    Order re MSJ
